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In the Gnited States Court of Federal Claims

No. 16-928C
(Filed: August 5, 2016)

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SHEILA BURLESON,
FILED
Plaintiff, AUG - 5 201g
; U.S.C
Vv FEDERAL Garg

THE UNITED STATES,

Defendant.

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ORDER

 

Plaintiff Sheila Burleson, who appears pro se, filed four complaints in
this court against the Social Security Administration, the Internal Revenue
Service, Nationwide Insurance Company, and Wells Fargo.’ All appear to
relate to the foreclosure of plaintiff's home in 2008.

In the above-captioned case, plaintiffbrings a claim against Nationwide
Insurance Company. However, we lack jurisdiction over claims against private
parties. See 28 U.S.C.A. § 1491 (2012). Because the jurisdictional defect is
patent, we deem it unnecessary to wait for a response to the complaint. We
therefore dismiss the complaint for lack of jurisdiction pursuant to Rule
12(b)(1) of the Rules of the United States Court of Federal Claims (“RCFC”).

Also pending is plaintiffs motion for leave to proceed in forma
pauperis. For good cause shown, the motion is granted. The clerk is directed
to dismiss the complaint. No costs. The clerk is also directed not to receive any
further filings from plaintiff without prior court approval.

 

' The four cases have been assigned case numbers 16-926C, 16-927C, 16-
928C, and 19-929C, respectively,

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ERIC G. BRU
Senior Judge
